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 6

 7
                    IN THE UNITED STATES DISTRICT COURT
 8
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,          ) Case No.: 1:13-CR-00136-AWI
                                        )
11             Plaintiff,               )
                                        )
12       vs.                            ) STIPULATION AND ORDER
                                        ) PERMITTING DEFENDANT TO
13                                      ) TRAVEL TO THE CENTRAL
                                        ) DISTRICT OF CALIFORNIA
14                                      )
     SARITH CHIM,                       )
15                                      )
               Defendant.               )
16                                      )
17

18       On April 22, 2013, defendant Sarith Chim made his initial
19   appearance before this Court on an indictment filed in the
20   Eastern District of California charging him with conspiracy to
21   manufacture, distribute, and possess with intent to distribute
22   a controlled substance, structuring conspiracy, and
23   structuring.    Mr. Chim was released on a Property Bond in
24   September 2013 and in the custody of a third party, Ms. Sarong
25   Chao, under conditions set by this Court. Two such conditions
26   are that the Defendant may not travel outside of Tulare, Kern,
27   Kings, Fresno, and Madera Counties without the Court’s
28

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         Stipulation and Order to Travel to the Central District of California
                             Case No.: 1:13-CR-00136-AWI
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 1   permission and is participating in Home Detention with
 2   electronic monitoring.
 3       Mr. Chim wishes to travel by car to Long Beach with his
 4   custodian, Sarong Chao, and his four nieces and nephews to
 5   visit his mother at her residence and pick-up his step-son.
 6       The City of Long Beach is in the Central District of
 7   California and is outside the travel restrictions under Mr.
 8   Chim’s current conditions of release. United States Pretrial
 9   Services Officers Monty Olson and Darrel Walker were contacted
10   by my office concerning this request to travel outside of the
11   Eastern District of California. Both Mr. Olson and Mr. Walker
12   do not have a problem with the Defendant traveling to Long
13   Beach, but request that Defendant first obtain permission from
14   the Court and complies with any restrictions that Pretrial
15   Services may impose on such travel.
16       Accordingly, the parties agree and stipulate that Mr.
17   Chim’s conditions of release should be modified as follows:
18   Mr. Chim shall be permitted to travel by car to and from the
19   Central District of California, at approximately 10:00 a.m. on
20   Wednesday, January 1, 2014, and returning by 9:00 p.m. on
21   Saturday, January 4, 2014, with the advance permission of, and
22   as directed by, Pretrial Services.
23       IT IS SO STIPULATED.
24

25   Dated: December 23, 2013               /s/ Grant Rabenn
                                            Assistant United States
26                                          Attorney
27

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 1   Dated: December 23, 2013                 /s/ Anthony P. Capozzi
                                              Anthony P. Capozzi
 2                                            Attorney for
                                              SARITH CHIM
 3

 4

 5

 6                                       ORDER
 7

 8         For reasons set forth above, the Defendant’s conditions
 9   of pretrial release shall be modified as follows: The
10   Defendant shall be permitted to travel by car to and from the
11   Central District of California, at approximately 10:00 a.m.
12   on Wednesday, January 1, 2014, and returning at approximately
13   9:00 p.m. on Saturday, January 4, 2014, with the advance
14   permission of, and as directed by, Pretrial Services. All
15   other conditions shall remain in effect.
16
     IT IS SO ORDERED.
17

18   Dated: December 23, 2013
                                       SENIOR DISTRICT JUDGE
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                                           - 3 -
           Stipulation and Order to Travel to the Central District of California
                               Case No.: 1:13-CR-00136-AWI
